State of Oklahoma

Performance Management Process (PNIP)
Section Ai

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“. EName (Last, First, ML). 0.”
Bolnty, Janessa

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[Job Tithe

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School Counselor Speclalat AWARE Ez East|

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CLOSEOUT] 14/22 12/31/22 |265- OSDE

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‘Organizational:
- 4 Unit/Division
Student Support —

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Section B: Accountabilitles (Tasks + Performance Standards)

1.
Direct the development of fong-range plans, goals and objectives related to social/emotional
development, trauma-Informed schools’ practices, at-risk student identification and student
success within AWARE East LEA

Designation:

ORITICAL

Results:

Janessa works with her counseling teams within the AWARE East project to help
brainstorm and address trauma informed schools best practices.

MEETS STANDARDS

’ Organize, implement , and ancourage state, regional and disirict improvement In school counseling
programs through professional development focused on assuring that all particlpants achieve Increased
capacity to assist students; and create and deliver meaningful and articulate presentations to stakeholders

Designation:

CRITICAL

Results:

Janessa has been tralned in TBRI as a tralner to also add an additional training
opporiunity for LEAs In the AWARE project and statewide.

MEETS STANDARDS

3. Work directly wilh AWARE LEAs on resources to asalst with Implamentatlon of a comprehensive school counseling framework

and SEL competencies, This Includes organizing, conducting, end partlelpating in meatings with Distriot Leadershlo, Grant
oversight personnel, School Counselors, Licensed Mental Health providers, Community stakeholders, state level stakeholders
to drive Implementation of best pracilce student support resources

Designation:

IMPORTANT

Results:

Janessa continues to work with school counselors to understand the comprehensive school
counseling framework, She does monthly meetings with each LEA counseling team.

MEETS STANDARDS

Stay informed of new trends, diagnostic and evaluation techniques, currlculum materials,

curriculum integration and technology; to better inform grant implementation at the local and
state level,

Designation:

CRITICAL

Results:

Janessa maets this domaln. One area of development to Improve In thls domain could be to increase understanding of
{eohnology wiih regards to teams, apple computers, adabe sign, and other required supports. in additlon to using outlook
calendar to communicate schedule and approved time away or fy state/ out of state travel.

MEETS STANDARDS

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171027 Bolnty, Janessa School Counselor Specialist AWARE East
5.
Work directly with AWARE LEAs on MTSS Implementation with a focus on SEL and
Mental Health supports
Designation: CRITICAL
Results:
Janessa continues to provide supports aligned to MTSS implementation and trauma
Informed understanding and supports. MEETS STANDARDS
6. 1
Attend all required AWARE meetings with LEAs and OSDE AWARE leadership to
streamline progress on goals and objectives of the AWARE grant
Designation: CRITICAL
Results:
Janassa atfends all iravel to LBAs lo conduct monthly meetings. There have been some reports that meelings with ISF personnel within the LEA did not
occur virtually so commurteallon feedback loops will be a focus for Janessa regarding scheduled maellags wilh LEA staff, Go even Ifike raparls ore
unfounded || shows a paper irall of communicatlon through emalt of any changes (0 ihe schedule with LEA staff, Janessa will vse outlook calondar far thls. MEETS STANDARDS
7, , : : ' :
Provide consistent virtual and in/person counseling oversight to the AWARE LEAs. Train
AWARE LEA counselors with OSDE approved trainings regarding best practices and provide
linkage to The Oldahoma School Counselor Framework training
Designation: CRITICAL
Results:
Janessa enjoys training and providing supports for the AWARE LEA counseling teams. She also branches
out lo support tralning outside of the counseling tear to Include schoo! wide educator fralninings aligned to
the focus on the grani goals and objectives. MEETS STANDARDS
8.
Desipnation: N/A
Resutts:
NIA
Yor Supervisovs/Managers Only
9, Performance Management Accountability:
-- Provides continuous feedback to employees using specific terms regarding work performance
-- Conducts annual performance appraisals according to policy
-» Helps employees identify areas of strength and areas for development
-« Tristructs and demonstrates ways that employees may improve performance or gain new skills
-- Encourages feedback from employees regarding performance management
-- Other
Deslonation: NIA
Restlfs:
N/A

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Section C: Gyerall Accountability Rating

* Tall Accountabilities ace Meets Standards or below, then the Overall Accountabliity Rating cannot be Exceeds Standards.
* Tfany arHical Accountabliity ig Does Not Meet Standards, then the Overall Accountability Rating cannot be Exceeds Standards,
* {fany three Accountabilities axe either Needs Improvement or Does Not Meet Standards, then the Overall Accountability Rating cannot be

Exceeds Standards,
Overall Accountability Rating: MEETS STANDARDS
(Buter the Overall Accountability Rating again in Section E,)

Section D: Behaviors Rating —
1. Customer Service Ovicatation
*Listens aud responds to oustomers ina courteous and professional manner; empathizes and engages in dialog with
customers to gain a clear understanding of needs and goals: ensures expectations and time frames are clear and
reasonable, .
*When a “no” response is necessary, thoroughly explains the reasous and commits to providing options when possible.
Laoks for creative ways to meet customer needs.
*Establishes and maintains good working relationships with others.
Results:
Janessa |s always courteous and kind, She approaches interactions [n a professional
rnanner and focuses her efforts on relationship building. EXCEEDS STANDARDS
42, Teamsyork
‘Keeps others informed about tasks, projects and issues, and shares experiences and Information to help others learn
more about the work/department/agency.
“Seeks input from coworkers; collaborates to resolve common problems; puts team success first; gives praise and
credit to others,
*Willingly volunteers for projects or assignments.
‘Treats others with respect and addresses conflict in a professional manner,
Results:
Janessa continues fo be a team player and offers support above end bayend with statewlde efforts for PREPARE tralning. She
Teally slepped Up to provide statewlde elforis for cilsla response traning whan (he slate experianced a shortage in talners,
She supports the AWARE team members and Is always willing fo end a hand, EXCEEDS STANDARDS
3. Problem-Solving Initiative
‘Consistently identifies the cause ofa problem and asks meaningful, relevant questions to understand the problem,
*Breaks down complex problems Into fundamental parts,
‘Recognizes when information is missing, incomplete or inaccurate; finds the necessary xesources and information to
provide timely resolution, ,
‘Revises priorities based on changing needs of the customer or new requesis for assistance,
Results:
Janessa works with the AWARE teain to problem solve as needed within the project. .
MEETS STANDARDS

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4, Leadership

*Promotes a supportive work environment and effectively manages conflict,
*Remains informed of changes in agency policy and procedures,

*Sets a good example for others in performance and behavior,

‘Mentors staffcoworkers,

Results:

Janessa maintains a supportive work environment and avoids conflict but if presented
with a situation is always willing to professtonal work through them. MEETS STANDARDS

5. Observing Work Hours and Using Leave (De not consider any leave that is approved under FMLA. )
‘Makes productive use of work time and focuses on assigned duties and tasks,

‘Considers work flow issues when requesting annual leave and taking breaks.

“Follows agency policy in use of sick leave; notifies supervisor in a timely manner,

*Arrives at work and meetings on tne,

Results;

Jonessa continies to learn a balance with fleld work. Sho is working to addfess more consistently ima management wilh regards fo documenting work day tasks on
outlook dia fo field work, Sa there fs lransparenoy about ler time and alton, She deas nolify supervisor for say leave sho ls needing to use she Is making altample to
Iprova on putting thase In oulleok so her calendar eccuvalely roflacts her day. Field work fs tha seme 9s H youl went Into an office and Janesaa fs working to maka sura
sho Is lansparent with her day to day. MEBTS STANDARDS

Section Is Overall Performance Rating

1. Enter the Overall Accountability Rating (from Section C):

Overall Accountability Rating:

2. To arrive at an Overall Performance Rating, consider the ratings on the Behaviors:

* Iftwo or more Behaviors are Does Not Meet Standards, then the Overall Performance Rating mst be one level lower than the Overall
Accountability Rating,

* Tf two or more Behaviors ave Exceeds Standards, then the Overal! Performance Rating may be one level hi gber than the Overall
Accountability Rating,

3. Record the Overall Performance Rating:

Overall Performance Rating: MEETS STANDARDS

Section I: Summary / Development Plau

Performance Strongths:

Janessa has begun to communicate more effectively with supervisor regarding schedule, request for leave
and other major attendance requirements of the Job, She fs a team player and is always willing to go train
and support LEA's. A strength for Janessa js relationship building and she makes connections wherever
she goes. She belleves in this work and supporting the efforts of all students within schools,

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174027 Bolnty, Janessa

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Schoo/ Counselor specials AWARE East

Performance Aveas for Development:

Janessa will work to use her outlook calendar more diligenily to reflect her time and effort. She has
already shown improvement In this domain and will continue to make this a prlority. She will continue to
observe an 8-430 workday as a filed employee and will continue to honor all OSDE fleld guidelines.

Development Plan:

Supervisor will continue to be a resource for Janessa and provide support and oversight.

Section Gi Record of Mectingy Discussions
Purpose of. . :

Maoting: Init Pining: * Start Date! : To : , -
Stipervisor’s Signature. °° ’ Date:
Employee's Signature “: - Date | ~_Reviéwer’s Signature’ ~ ae ‘.: Date.
. f 4 I st cl
Meta Mid-Year Review Ch 6 ryl McG ee ‘pial 12.08 O9:s007 0800! {
Supervisor's Siguature Date
vanessa Bointycaeneesoratssn say 6/6/2022 )
Employee’s Signature Date Reviewer's Signature Date
“ee. (This'seetion! Is OPTIONAL and is used'for extra meétings)) 92 = oT
Purpose of Meeting ~ -;. ° Date ° . -. Supervisor's Signature -Date
‘Employee's Signatute Date " Reviewer's Signature - Date -
Purpose of 42/31/22 Supervisor; I certify that this xeport represents my best Judgment and
Meeting: Closeout of the PVP End Date: has beon discussed with the employee,

Employee: I certify that this report has been, discussed with me, ]
understand that my signature dovs not necessarily indicate my
agreement with the contents of the report.

, Digially signed by Janeasa Boin
Janessa Bointy:s 2022.12.00 +4H19:00 0800

Highatly slaned by Cheryl MeGea
Cheryl McGee: ‘Date: 9022.42.08 10:10:98 0800" }
Supervisor's Signature

Date

Reviewer: T certify that 1 ageee with this report and have Hsted any
oxceptions/comments in the Additional Comments section.

Employee's Signature Date

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Reviewor's Signature Date

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471027 Bointy, Janessa School Counselor Specialist AWARE East
Bmployee Comments: Additional Comments (Supervisor and/or Reviewer):

This page is to be maintained hy supervisor and attached after the PMP closeout.

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Copies! ss Employee
Supervisor
Agency Human Resources Department
Other

